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 1
 2                               UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                   ***
 5
      UNITED STATES OF AMERICA,                                CASE NO: 2:21-mj-00924-VCF
 6
                              Plaintiff,
 7
               vs.
 8
       BRANDON WALLACE                                         ORDER TO CONTINUE INITIAL
 9
                                                               APPEARANCE (SECOND
10                            Defendant                        REQUEST)

11
12
13
14                   FINDINGS OF FACTS, CONCLUSIONS OF LAW AND ORDER

15           Based on the pending Stipulation of counsel, and good cause appearing therefore, the court
16   hereby finds that:
17
                                           CONCLUSIONS OF LAW
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             Based upon the fact that counsel has agreed to a continuance, the Court hereby concludes
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     that:
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21       1. On February 8, 2022, Mr. Wallace retained the undersigned defense counsel.

22       2. The undersigned defense counsel has a scheduling conflict with a virtual sentencing in
23           USA v. Simon Castillo, case no. 2:19-cr-00012-RFB-NJK at 10:00 a.m. The undersigned
24
             defense counsel’s office is approximately thirty (30) minutes from the Federal Courthouse.
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         3. Mr. Wallace is out of custody and consents to this request.
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27       4. Denial of this requests for continuance could result in a miscarriage of justice.

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           5. The additional time requested by this Stipulation is excludable in computing the time
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 2            within which the trial herein must commence pursuant to the Speedy Trial Act, 18 U.S.C.

 3            §3161(h)(7)(A), when considering the factors under 18 U.S.C. §§3161(h)(7)(B) and

 4            3161(h)(7)(B)(iv).
 5
           6. The additional time requested herein is not sought for purposes of delay and the denial of
 6
              this request for continuance could result in a miscarriage of justice.
 7
           7. For all the above-stated reasons, the ends of justice would be best served by the continuance
 8
 9            of the Initial Appearance in this case.

10         8. This is the second request for a continuance of the Initial Appearance.
11            The ends of justice are served by granting said continuances and outweigh the best interest
12
     of the public and the Defendants’ right to a speedy trial, since the failure to grant aid continuance
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     would be likely result in a miscarriage of justice as it would deny the parties herein sufficient time,
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     and the opportunity within which to effectively and thoroughly prepare and file pretrial motions,
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16   responses, and replies, and prepare for trial taking into account the exercise of due diligence.

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              Case 2:21-mj-00924-VCF Document 10 Filed 03/07/22 Page 3 of 3



                                              ORDER
 1
 2          IT IS HEREBY ORDERED that the Initial Appearance in this matter scheduled for

 3   March 17, 2022, at the hour of 11:00 a.m., is hereby vacated and continued to the 21st day of

 4   April, 2022, at the hour of 11:00 am, in Courtroom 3D before Magistrate Judge Cam Ferenbach.
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 6
            DATED: March 7, 2022
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                                                              _____________________________
 8                                                            United States Magistrate Judge
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